Case 2:09-cv-04414-SDW-SCM Document 992 Filed 07/11/18 Page 1 of 3 PageID: 16105



      NOT FOR PUBLICATION
                                     UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEW JERSEY


            CHAMBERS OF                                                       MARTIN LUTHER KING COURTHOUSE
       SUSAN D. WIGENTON                                                              50 WALNUT ST.
      UNITED STATES DISTRICT JUDGE                                                  NEWARK, NJ 07101
                                                                                        973-645-5903

                                                July 11, 2018

  Gibbs C. Henderson, Esq.
  Waters & Kraus, LLP
  3141 Hood Street, Suite 700
  Dallas, TX 75219
  Counsel for Plaintiffs

  James E. Cecchi, Esq.
  Carella, Byrne, Cecchi, Olstein, Brody & Agnello, P.C.
  5 Becker Farm Road
  Roseland, NJ 07068
  Co-Liaison Counsel for Plaintiffs

  Christopher A. Seeger, Esq.
  Seeger Weiss LLP
  55 Challenger Road, 6th Floor
  Ridgefield Park, NJ 07660
  Co-Liaison Counsel for Plaintiffs

  Andrew L. Campbell, Esq.
  Faegre Baker Daniels LLP
  300 N. Meridian Street, Suite 2700
  Indianapolis, IN 46202
  Counsel for Defendants


                 LETTER ORDER FILED WITH THE CLERK OF THE COURT

           Re:     Miller v. Zimmer Holdings, Inc. et al.
                   Master Docket Case No. 09-4414 (SDW)(SCM)
  Counsel:

          Before this Court are Co-Liaison Counsel’s (1) Motion for Reconsideration of this Court’s
  June 7, 2018 Order granting disbursement of funds from the Common Benefit Fund (“CBF”) (Dkt.
  No. 983), and (2) Motion for a Stay of that Order. 1 (Dkt. No. 986.). This Court having considered

  1
   Plaintiffs’ Liaison Counsel for this MDL are currently: Gibbs Henderson of Waters & Krauss, LLP; Wendy
  Fleishmann of Lieff Cabraser Heimann & Bernstein, LLP (“Lieff Cabraser”); Derek Braslow of Pogust, Braslow &
Case 2:09-cv-04414-SDW-SCM Document 992 Filed 07/11/18 Page 2 of 3 PageID: 16106



  the parties’ submissions 2 and having reached its decision without oral argument pursuant to
  Federal Rule of Civil Procedure 78, and for the reasons discussed below, denies Co-Liaison
  Counsel’s motions.

  DISCUSSION
           A. Standard of Review

          Although the Federal Rules of Civil Procedure “do not expressly authorize motions for
  reconsideration, Local Civil Rule 7.1(i) provides for such review.” Sch. Speciality, Inc. v.
  Ferrentino, Civ. No. 14-4507, 2015 WL 4602995, at *2-3 (D.N.J. July 30, 2015). A party moving
  for reconsideration must file its motion within fourteen (14) days “after the entry of the order or
  judgment on the original motion” and set “forth concisely the matter or controlling decisions which
  the party believes the . . . Judge has overlooked.” L. Civ. R. 7.1(i). A motion for reconsideration
  is “an extremely limited procedural vehicle,” Ferrentino, 2015 WL 4602995 at *2 (internal
  citations omitted), which is to be granted “sparingly.” A.K. Stamping Co., Inc. v. Instrument
  Specialties Co., Inc., 106 F. Supp. 2d 627, 662 (D.N.J. 2000). Motions to reconsider are only
  proper where the moving party shows “(1) an intervening change in the controlling law; (2) the
  availability of new evidence that was not available when the court [reached its original decision];
  or (3) the need to correct a clear error of law or fact or to prevent manifest injustice.” Max’s
  Seafood Café v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999). Mere disagreement with a court’s
  decision is not an appropriate basis upon which to bring a motion for reconsideration as such
  disagreement should “be raised through the appellate process.” U.S. v. Compaction Sys. Corp., 88
  F. Supp. 2d 339, 345 (D.N.J. 1999).
           B. The June 7, 2018 Order is Not Clearly Erroneous or Contrary to Law

          On April 18, 2018, the law firm of Waters & Kraus, LLP (“Waters & Kraus”) moved for
  disbursements from the CBF for work they had performed on behalf of plaintiffs in this MDL.
  (Dkt. No. 972.) Relying on Case Management Order No. 3 (Dkt. No. 33) (“CMO No. 3”),
  which governs assessments and procedures for seeking reimbursement from the CBF, Waters &
  Kraus submitted an accounting of the firm’s expenses and hours. (Dkt. No. 972-2 and Exhibits.)
  So too, did the firms of Pogust, Braslow & Millrood, and Lieff Cabraser. (Dkt. No. 972 Ex. F,
  977.) 3 Co-Liaison Counsel neither formally opposed the motion, nor challenged the expenses or
  hours submitted. Instead, Co-Liaison Counsel filed two separate letters requesting that this
  Court appoint Mr. Seeger and Mr. Cecchi “to develop and administer a common benefit
  application process for all plaintiffs’ counsel.” (Dkt. No. 973, 979.) Because CMO No. 3

  Millrood; James Cecchi of Carella, Byrne, Cecchi, Olstein, Brody & Agnello, P.C.; and Chris Seeger of Seeger
  Weiss LLP. (Dkt. No. 972-1 at 4; 17, 184, 730.) Although Ms. Fleishman filed what appears to be a letter of
  support for the instant motions (Dkt. No. 989), she did not formally join the motions and, in fact, submitted a request
  for disbursements from the CBF and was granted the same in this Court’s June 7, 2018 Order. Therefore, for
  purposes of the instant motions, “Co-Liaison Counsel” refers to solely to Mr. Cecchi and Mr. Seeger who jointly
  filed the motions.
  2
    This Court did not consider Co-Liaison Counsel’s reply brief, (Dkt. No. 991), because Co-Liaison Counsel did not
  seek permission to file a reply as required by Local Civil Rule 7.1(d)(3).
  3
    This is not the first time disbursements have been requested and granted from the CBF. (See, e.g., Dkt. No. 112,
  146, 694.)


                                                            2
Case 2:09-cv-04414-SDW-SCM Document 992 Filed 07/11/18 Page 3 of 3 PageID: 16107



  already provides a process to manage disbursements from the CBF, and this Court having
  reviewed the expenses and hours in Waters & Kraus’s motion and having found them
  reasonable, and those amounts having not been challenged by Mr. Seeger or Mr. Cecchi, this
  Court granted Waters & Kraus’s motion on June 7th.
          This Court’s June 7th Order clearly identified CMO No. 3 as an appropriate method for
  disbursing funds from the CBF. Indeed, funds have been disbursed pursuant to CMO No. 3 on at
  least three other occasions. Co-Liaison Counsel does not identify any intervening change in the
  relevant law or new evidence that was unavailable at the time this Court entered its June 7th
  Order that invalidates CMO No. 3. Consequently, Co-Liaison Counsel’s motion rests solely on
  the contention that this Court’s decision contains an error of fact or law that, if left uncorrected,
  would result in manifest injustice. Co-Liaison Counsel argues that it “was not permitted the
  opportunity to scrutinize the alleged common benefit work that Waters & Kraus sought
  compensation for and to make a recommendation to the Court as was required by CMO [No.] 3.”
  (Dkt. No. 986-1 at 1.) This is patently untrue. Waters & Kraus’s motion was filed on the docket
  and was available to all parties. An appropriate return date for the motion was set. The motion
  contained a detailed and extensive accounting of the amounts sought. Co-Liaison Counsel had
  ample opportunity to review those materials and to challenge them in written opposition or
  through a request for oral argument, but chose not to do so. There being no error of fact or law
  requiring reconsideration of this Court’s June 7th Order, Co-Liaison Counsel’s motion for
  reconsideration and for a stay will be DENIED.
  CONCLUSION

         For the reasons set forth above, Co-Liaison Counsel’s Motions for Reconsideration of this
  Court’s June 7, 2018 Order and for a Stay of that Order are DENIED. An appropriate order
  follows.


                                                        ___/s/ Susan D. Wigenton_____
                                                        SUSAN D. WIGENTON, U.S.D.J.


  Orig: Clerk
  cc:   Parties
        Steven C. Mannion, U.S.M.J.




                                                   3
